JS 44 (Rey, 04/21)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

Mark Raleigh, as Personal Representative of the Estate

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
DEFENDANTS

of Braedan Raleigh, et al.
(b) County of Residence of First Listed Plaintiff

(ce) Attorneys (Firm Name, Address, and Telephone Number)

Foreign

(EXCEPT IN U.S. PLAINTIFF CASES)

Avco Corporation, et al.

County of Residence of First Listed Defendant Lycoming

(IN U.S, PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attorneys (if Known)

Bradley J. Stoll, Katzman, Lampert & Stoll, 121 N. Wayne

Avenue, Suite 205, Wayne, PA 19087; (610) 686-9686

 

 

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTI ES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box far Defendant)
[1 US. Government (13 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State []1 [J 1 Incorporated or Principal Place [14 [x4
of Business In This State

(2. US. Government [X]4 Diversity Citizen of Another State [x]2  [[] 2 Incorporated and Principal Place [[] 5 [x]5

Defendant (Indicate Citizenship of Parties in Item II]) of Business In Another State
Citizen or Subject of a (13 [7] 3 Foreign Nation Oe Ce6

Foreign Country

 

 

 

 

IV. NATURE OF SUIT (Place an "X” in One Box Onb
TLS ERCONTRACT ON ai als rr x

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el ry

 

110 Insurance
120 Marine
130 Miller Act
140 Negotiable Instrument
150 Recovery of Overpayment
& Enforcement of Judgment
ISI Medicare Act
H 152 Recovery of Defaulted
Student Loans
(Excludes Veterans)
oO 153 Recovery of Overpayment
of Veteran's Benefits
[_] 160 Stockholders” Suits

A 190 Other Contract

195 Contract Product Liability
196 Franchise

   
  
    

REAL PROPE

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
[_] 290 All Other Real Property

 

    
  
   

  

440 Other Civil Rights
441 Voting

 
 

Habeas Corpus:
| | 463 Alien Detainee

   
  
   
 
  
 
 
 

|] 448 Education |_| 555 Prison Condition
[| 560 Civil Detainee -

Conditions of

 

 

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791 Employee Retirement
Income Security Act

 

 

  
        

 

PERSONAL INJURY PERSONAL INJURY | _|625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
310 Airplane [[] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
X| 315 Airplane Product Product Liability Y ]690 Other 28 USC 157 3729(a))
Liability (2) 367 Health Care/ INTELLECTUAL. )|_] 400 State Reapportionment
320 Assault, Libel & Pharmaceutical ROPERTY RIGHTS [| 410 Antitrust
Slander Personal Injury 820 Copyrights 430 Banks and Banking
[] 330 Federal Employers’ Product Liability 0 Pace 450 Commerce
Liability [J 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
A 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
345 Marine Product Liability 840 Trademark Corrupt Organizations
Liability PERSONAL PROPERTY [ki elias 880 Defend Trade Secrets [_] 480 Consumer Credit
A 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (13 USC 1681 or 1692)
355 Motor Vehicle 371 Truth in Lending Act ~ 485 Telephone Consumer
Product Liability 380 Other Personal Y_]720 Labor/Management Protection Act
| 360 Other Personal Property Damage Relations* 861 HIA (1395ff) 490 Cable/Sat TV
Injury OJ 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
|. CIVILRIGHIS | PRISONERPETINIO. 790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts

893 Environmental Matters
| | 895 Freedom of Information

   

442 Employment |__| $10 Motions to Vacate |_| 870 Taxes (U.S. Plaintiff Act
443 Honsing/ Sentence or Defendant) 896 Arbitration
Accommodations |_| 530 General r | 871 IRS—Third Party 899 Administrative Procedure
| 445 Amer. w/Disabilities -[__] 535 Death Penalty Nisios 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
|] 446 Amer. w/Disabilities -[7] 540 Mandamus & Other 465 Other Immigration |] 950 Constitutionality of
Other |_| 550 Civil Rights Actions State Statutes

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original
bd Proceeding

VI. CAUSE OF ACTION

Co? Removed from
State Court

3 Remanded from
Appellate Court

28 U.S.C. § 1332(a)
Brief description of cause:

 

(14 Reinstated or (J 5 Transferred from

Reopened Anot!

(specify)
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

aircraft accident that resulted in fatalities of Plaintiffs

6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

her District

 

 

 

 

 

VIL REQUESTEDIN ~~ [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [x]Yes [No
VII. RELATED CASE(S) “s
yee instructions): \
IF ANY Tr aa JUDGE '___ DOCKET NUMBER
DATE SIGNSTURE OF ATTORNEY OF RECORD
5/23/2023 naclhec Al
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

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